        Case 1:24-mj-02422-UA            Document 28        Filed 04/25/25   Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                Order of Continuance

                       v.                                   24 Mag. 2422

 JUSTIN HEATH SMITH,
          a/k/a “Austin Wolf,”

                            Defendant.


       Upon the application of the United States of America and the affirmation of Getzel Berger,

Assistant United States Attorney for the Southern District of New York, it is found that the

defendant was charged in a complaint with violations of 18 U.S.C. § 2252A(a)(2)(A) and (a)(5)(B)

and arrested on June 28, 2024;

       It is further found that the defendant was presented before Magistrate Judge Tarnofsky in

this District on June 28, 2024, and was ordered detained;

       It is further found that, on July 23, 2024, Magistrate Judge Valerie Figueredo entered an

Order of Continuance, pursuant to Rule 5.1(d) and 18 U.S.C. § 3161(h)(7)(A), extending the time

within which a preliminary hearing would have to be conducted or an indictment or information

would have to be filed in this case until August 28, 2024;

       It is further found that, on August 27, 2024, Magistrate Judge Stewart D. Aaron entered an

Order of Continuance, pursuant to Rule 5.1(d) and 18 U.S.C. § 3161(h)(7)(A), extending the time

within which a preliminary hearing would have to be conducted or an indictment or information

would have to be filed in this case until September 27, 2024;

       It is further found that, on September 24, 2024, the Honorable Katharine H. Parker entered

an Order of Continuance, pursuant to 18 U.S.C. § 3161(h)(7)(A), extending the time within which
        Case 1:24-mj-02422-UA              Document 28   Filed 04/25/25     Page 2 of 4




a preliminary hearing would have to be conducted or an indictment or information would have to

be filed in this case until October 28, 2024;

       It is further found that, on October 24, 2024, the Honorable Gary Stein entered an Order of

Continuance, pursuant to 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until November 27, 2024;

       It is further found that on November 26, 2024, the Honorable Barbara Moses entered an

Order of Continuance, pursuant to 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until December 27, 2024;

       It is further found that, on 9 December 23, 2024, the Honorable Sarah Netburn entered an

Order of Continuance, pursuant to 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until January 27, 2025;

       It is further found that, on January 28, 2025, the Honorable Jennifer E. Willis entered an

Order of Continuance, pursuant to 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until February 26, 2025;

       It is further found that, on February 25, 2025, the Honorable Henry J. Ricardo entered an

Order of Continuance, pursuant to 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until March 28, 2025;


                                                 2
         Case 1:24-mj-02422-UA             Document 28     Filed 04/25/25      Page 3 of 4




        It is further found that, on March 24, 2025, the Honorable Valerie Figueredo entered an

Order of Continuance, pursuant to 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until April 28, 2025;

        It is further found that Michael Baldassare, Esq. and Thomas Andrykovitz, Esq., counsel

for defendant, and Assistant United States Attorney Getzel Berger have been engaged in, and are

continuing, discussions concerning a possible disposition of this case;

        It is further found that the Government has requested a continuance of 30 days to engage

in further discussions with counsel about the disposition of this case and that the defendant, through

counsel, has consented that such a continuance may be granted for that purpose, specifically

consenting to an extension of the deadlines under Rule 5.1 of the Federal Rules of Criminal

Procedure and 18 U.S.C. § 3161(b) for an additional 30 days; and

        It is further found that the granting of such a continuance is for good cause shown and best

serves the ends of justice and outweighs the best interests of the public and the defendant in a

speedy trial; and therefore it is

        ORDERED that the request for a continuance pursuant to Rule 5.1(d) of the Federal Rules

of Criminal Procedure and 18 U.S.C. § 3161(h)(7)(A) is hereby granted until May 28, 2025, and




                                                  3
        Case 1:24-mj-02422-UA         Document 28        Filed 04/25/25       Page 4 of 4




that a copy of this Order and the affirmation of Assistant United States Attorney Getzel Berger be

served on counsel for the defendant by the United States Attorney’s Office.

Dated: New York, New York
       April ___,
             25 2025



                                             ____________________________________
                                             UNITED STATES MAGISTRATE JUDGE




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